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                              UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF NORTH DAKOTA


In Re:                                                        Case No.: 17-30112

Vanity Shop of Grand Forks,                                   Chapter 11

                            Debtor.


   STIPULATION FOR SETTLEMENT OF FIFTH OMNIBUS OBJECTION TO
 CERTAIN CLAIMS (NEWGATE MALL EQUITIES LLC AND NEWGATE MALL
                  HOLDINGS LLC – CLAIM NO. 319)


         On August 24, 2018, Debtor filed its Fifth Omnibus Objection to Certain Claims [Doc

864] (“Fifth Omnibus Objection”). The Fifth Omnibus Objection included landlord

rejection damages claims for a property located in Ogden, Utah, owned or managed by

Newgate Mall Equities LLC and Newgate Mall Holdings LLC (“Newgate Mall”). As a

result of discussions between counsel to the Debtor and counsel to Newgate Mall, the parties

have reached a settlement resolving the Fifth Omnibus Objection to Newgate Mall’s Proof of

Claim No. 319.

         The Debtor and Newgate Mall hereby stipulate and agree, subject to the Bankruptcy

Court’s approval pursuant to F.R.Bankr.P. 3007 and 9019, Proof of Claim No. 319 as

objected to in the Fifth Omnibus Objection shall be allowed in the stipulated claim amounts

set forth below:

 SEQ                                     CLAIM                                                     AGREED
                     NAME                        DATE FILED         ASSERTED CLAIMS
 NO.                                      NO.                                                    RESOLUTION
         Newgate Mall Equities LLC and
         Newgate Mall Holdings LLC                                                           Claim No. 319; Store
         C/O Time Equities                                                                   #78 (Ogden, UT) shall
                                                              General
 16      55 Fifth Ave, 15th Floor         319    7/3/2017                      $173,440.80   be a general
                                                              Unsecured
         New York, NY 10003                                                                  unsecured claim for
                                                                                             $154,988.80.
         Attorney Douglas J. Payne
17th
